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Attorney for Plaintiff


                          UNITED STATES DISTRICT COURT
                               DISTRICT OF OREGON

NICOLE LIDDELL,                               Case No. 1:19-cv-01982-AC

    Plaintiff,
                                              ORDER AWARDING ATTORNEY FEES
  vs.                                         PURSUANT TO THE EQUAL ACCESS TO
                                              JUSTICE ACT
Commissioner of Social Security,

     Defendant.


        Based upon the stipulation of the parties, it is hereby ORDERED that, pursuant

to the Equal Access to Justice Act, 28 U.S.C. §§ 2412, an attorney fee in the amount of

$6,072.96 be awarded to Plaintiff. If Plaintiff does not owe an outstanding debt eligible

under the Federal Treasury Offset Program, Defendant shall make the check payable to

Plaintiff’s attorney, John E. Haapala, Jr. Defendant shall mail the check to Plaintiff’s

attorney at: John Haapala, 401 E 10th Ave., Suite 240, Eugene, Oregon, 97401.

        There are no other costs or expenses to be paid herein.



Dated this 9th day of November, 2020.

                                           _______________________________
                                           United States District Judge/Magistrate

Submitted by:
John E. Haapala




ORDER AWARDING ATTORNEY FEES PURSUANT TO THE EQUAL ACCESS TO
JUSTICE ACT
